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 8                           UNITED STATES DISTRICT COURT

 9                        NORTHERN DISTRICT OF CALIFORNIA

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11 WARREN GARDNER, et al., Individually and )      Case No. 3:19-cv-02561-WHO
   on Behalf of All Others Similarly Situated, )
12                                             )   CLASS ACTION
                                Plaintiffs,    )
13                                             )   [PROPOSED] ORDER GRANTING
         vs.                                   )   PLAINTIFFS’ MOTION FOR ISSUANCE
14                                             )   OF LETTER ROGATORY
   STARKIST CO., a Delaware company,           )
15                                             )
                                Defendant.     )
16                                             )
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     Case 3:19-cv-02561-WHO Document 113-4 Filed 11/23/20 Page 2 of 2




 1          Having considered Plaintiffs’ Motion for Issuance of Letter Rogatory (“Motion”) (D.E.

 2 __), and for good cause shown, the Court GRANTS the Motion. The Court will enter a separate

 3 Order issuing the letter rogatory at issue.

 4 IT IS SO ORDERED.

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     DATED: __________________________
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                                                     Hon. William H. Orrick Jr.
 8                                                   United States District Judge

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     [PROPOSED] ORDER GRANTING MOT. FOR REQUEST FOR INT’L JUD. ASSISTANCE - DONGWON -
                                     3:19-cv-02561-WHO
